                                            EXHIBIT 1



                           THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 CAITLIN O’CONNOR,                                     )
                                                       )
          Plaintiff,                                   )   No. 3:20-cv-00628
                                                       )
 v.                                                    )   Judge Eli J. Richardson
                                                       )
                                                       )
 THE LAMPO GROUP, LLC a/k/a                            )   Magistrate Judge Frensley
 RAMSEY SOLUTIONS,                                     )   Jury Demand
                                                       )
          Defendant.                                   )


                       PLAINTIFF’S RULE 26(a)(1) INITIAL DISCLOSURES


         Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiff provides the following

information. Plaintiff reserves the right to supplement these Initial Disclosures. Further, Plaintiff

reserves all objections and privileges that may apply.

A.       Individuals likely to have discoverable information

         1. Caitlin O’Connor – Plaintiff. Has knowledge concerning the claims and defenses.

         2. Armando Lopez – Human Resources/Defendant’s Employee. Has knowledge

            concerning     Plaintiff’s   employment        history,   pregnancy,   request   for   ADA

            Accommodations and FMLA paperwork, and termination. Familiar with Defendant’s

            practices, policies, and procedures.

         3. Suzanne Simms – Defendant’s Board Member. Has knowledge concerning Plaintiff’s

            employment history, pregnancy, request for ADA Accommodations and FMLA

            paperwork, and termination. Familiar with Defendant’s practices, policies, and

            procedures.

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   4. Jen Sievertsen – Defendant’s Board Member. Has knowledge concerning Plaintiff’s

      employment history, pregnancy, request for ADA Accommodations and FMLA

      paperwork, and termination. Familiar with Defendant’s practices, policies, and

      procedures.

   5. Dave Ramsey – Defendant’s Owner. Has knowledge concerning Plaintiff’s

      employment history, pregnancy, request for ADA Accommodations and FMLA

      paperwork, and termination. Familiar with Defendant’s practices, policies, and

      procedures.

   6. Michael Finney – Defendant Employee. Has knowledge concerning Plaintiff’s

      employment history, job performance, pregnancy, and termination. Familiar with

      Defendant’s practices, policies, and procedures.

   7. Justin Meeker – Defendant Employee. Has knowledge concerning Plaintiff’s

      employment history and job performance. Familiar with Defendant’s practices,

      policies, and procedures.

   8. Bill Edmonson – Defendant Employee. Has knowledge concerning Plaintiff’s

      employment history and job performance. Familiar with Defendant’s practices,

      policies, and procedures.

   9. Rich Pedrick – Defendant Employee. Has knowledge concerning Plaintiff’s

      employment history and job performance. Familiar with Defendant’s practices,

      policies, and procedures.

   10. Philip Dower – Defendant Employee. Has knowledge concerning Plaintiff’s

      employment history and job performance. Familiar with Defendant’s practices,

      policies, and procedures.



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        11. Lee Yoder – Defendant Employee. Has knowledge concerning Plaintiff’s employment

           history and job performance. Familiar with Defendant’s practices, policies, and

           procedures.

        12. Dr. Jacqueline Stafford – Plaintiff’s OB/GYN. Familiar with Plaintiff’s disability

           and/or pregnancy and/or serious medical condition and need for leave and/or

           accommodation.

        13. Rob Kuskin – Plaintiff’s Partner. Familiar with the effects of Plaintiff’s work

           environment, Plaintiff’s
                                f disability and/or pregnancy and/or serious medical condition,

           and Defendant’s Actions.

        14. Employees who worked with or around Plaintiff.

        15. Former Lampo Group employees.

        16. Plaintiff’s treating physicians and medical providers.

        17. Any individuals identified by Defendant as a witness or potential witness.

        18. Plaintiff’s immediate family members.

        19. Any witness identified during the course of discovery.

B.      Documents

        1. Documents, including ESI, relating to Plaintiff’s job performance and discharge,

           including drafts.

        2. Plaintiff’s personnel file.

        3. Plaintiff’s medical file.

        4. Plaintiff’s requests for medical leave and/or accommodation, shifts and/or position, and

           all correspondence regarding such.

        5. Plaintiff’s job description.



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        6. Plaintiff’s performance reviews and memorandums.

        7. Plaintiff’s communications with Defendant and employees of Defendant.

        8. Defendant’s Employee Handbook.

        9. Defendant’s Core Values.

        10. Defendant’s Policies and Procedures manual.

        11. Documents received from the EEOC.

        12. Plaintiff reserves the right to use at trial any documents listed by Defendant and/or any

            other documents obtained during discovery.

        13. Plaintiff reserves the right to supplement this list based on ongoing discovery.

C.      Computation of Damages

      Plaintiff is owed sums for back wages and lost benefits from the time of the discrimination

 to trial. Plaintiff will seek damages for embarrassment, humiliation, stress, anxiety,

 inconvenience, and loss enjoyment of life. In addition, Plaintiff seeks attorneys’ fees and costs,

 pre-and post-judgment interest, punitive damages, actual damages and liquidated damages

 under the FMLA, and such other and further legal or equitable relief to which she may be

 entitled. Moreover, absent reinstatement, Plaintiff will be owed front pay. At this early stage,

 Plaintiff is unable to make economic calculations and any calculation for emotional distress will

 be made by a jury. Discovery is just beginning, and new information may be revealed. Plaintiff

 will supplement this response and disclose any such report in accordance with the Federal Rules

 of Civil Procedure and any applicable Scheduling Order(s).

Back Pay to trial date, includes loss of pay,         Approximately $95,722.25 in lost salary plus
loss of benefits or replacement benefits,             the additional cost for benefits
Front Pay                                             $54,000 includes one year
Liquidated Damages                                    $95,722.25
Actual Damages                                        Based on actual damages including but not
                                                      limited to medical bills and other losses.

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 Emotional Distress/Punitive                           To be determined by a jury
 Attorney’s Fees through trial (Est.) (partner         250,000.00
 rates are $425.00 per hour, associate rates are
 $325.00 per hour, subject to annual
 adjustment)
 Costs (Est.)                                          15,000.00
 Interest (prevailing rate)                            6%
 TOTAL                                                 Approximately $510,444.50 not including
                                                       lost/replacement benefit costs, emotional
                                                       damages, actual damages, and pre-and post-
                                                       judgment interest.


D.      Insurance Agreement

        Plaintiff does not have an insurance agreement applicable to this lawsuit.

                                      Respectfully submitted,
                                              Collins& Hunter, PLLC

                                              /s/_Heather Moore Collins
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                                              Counsel for Plaintiff



                                 CERTIFICATE OF SERVICE

I HEREBY certify that a copy of the foregoing has been e-mailed this the 20th day of October
2020 to counsel of record:

Leslie Goff Sanders
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                                   s/ Heather Moore Collins_




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